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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 DINA WINGER, individually and on behalf
 of all others similarly situated,
                                                        Civil Action No. 3:24-cv-1797-E
                                Plaintiff,

                 v.

 AT&T, Inc.,

                                Defendant.


                                 NOTICE OF RELATED CASE

         Plaintiff Dina Winger hereby notifies the Court that, subsequent to the commencement of

her action, another case that is related to the Winger action was filed in the United States District

Court for the Northern District of Texas, Dallas Division within the meaning of Civil Rule 3.3.

That new related case is: Jonathan Weaver and Jennifer Carter, individually and on behalf of all

others similarly situated v. Snowflake, Inc. and AT&T Inc, Civil Action No. 3:24-cv-01915 (N.D.

Tex.).

Dated: July 27, 2024                              Respectfully Submitted,

 MATHIAS RAPHAEL PLLC                                FOSTER YARBOROUGH PLLC

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                                                     Counsel for Plaintiff Dina Winger




                                 CERTIFICATE OF SERVICE

       This is to certify that on July 27, 2024, a true and correct copy of the foregoing has been
served via the court’s electronic case filing system and via e-mail upon all counsel of record.

                                                       /s/ Patrick Yarborough
                                                       Patrick Yarborough




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